Case 6:20-bk-10759-WJ        Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34               Desc
                             Main Document     Page 1 of 28



  1   WRIGHT, FINLAY & ZAK, LLP
      Arnold L. Graff, Esq., SBN 269170
  2   4665 MacArthur Court, Suite 200
  3   Newport Beach, CA 92660
      Tel: (949) 477-5050; Fax: (949) 608-9142
  4   agraff@wrightlegal.net
      Attorneys for Secured Creditor, Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken
  5   Loans Inc.
  6
  7
  8
  9
 10                             UNITED STATES BANKRUPTCY COURT

 11                CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION

 12   In re                                         )
                                                    )   BK Case No.: 6:20-bk-10759-WJ
 13   TOMASO GIANNELLI AND MELANIE                  )   Chapter 13
      GIANNELLI,                                    )
 14                                                     CONDITIONAL NON-OPPOSITION TO
                                                    )
 15                                                 )   DEBTORS’ MOTION FOR AUTHORITY
                     Debtors.                           TO SELL REAL PROPERTY UNDER LBR
                                                    )
 16                                                 )   3015-1(p)
                                                    )
 17                                                     REAL PROPERTY
                                                    )
 18                                                 )   13170 Long Meadow St.
                                                    )   Hesperia, California 92344-9265
 19                                                 )
                                                    )
 20
 21           Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc. (“Creditor”),
 22   by and through undersigned counsel, hereby submits this Conditional Non-Opposition to the
 23   Motion for Authority to Sell Real Property Under LBR 3015-1(p) (the “Motion to Sell”) filed by
 24   Jason Roberts and Celeste Roberts (“Debtors”) in the above-listed bankruptcy case.
 25                                      I. STATEMENT OF FACTS
 26           1.     On or about August 26, 2019, Debtors executed a promissory note in favor of
 27   Quicken Loans Inc. (“Lender”) in the amount of $225,250.00 (the “Note”). A copy of the Note
 28   is attached hereto as Exhibit 1.



                                                      1
                                CONDITIONAL NON-OPPOSITION TO MOTION TO SELL
Case 6:20-bk-10759-WJ        Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34              Desc
                             Main Document     Page 2 of 28



  1          2.      The Note was and is secured by a first position Deed of Trust (“Deed of Trust”)
  2   executed by Debtors upon the real property located at 13170 Long Meadow St., Hesperia,
  3   California 92344-9265 (the “Property”), recorded in the San Bernadino County Recorder’s
  4   Office on August 30, 2019, as Instrument No. 2019-0309927. A copy of the Deed of Trust is
  5   attached hereto as Exhibit 2.
  6          3.      On January 30, 2020, Debtors filed a petition under Chapter 13 of the Bankruptcy
  7   Code in the United States Bankruptcy Court for the Central District of California, Riverside
  8   Division, as Case No. 6:20-bk-10759-WJ (“Bankruptcy Case”) (See Dckt. 1).
  9          4.      On November 19, 2021, Debtors filed the Motion to Sell at issue, wherein the
 10   Debtors seek court approval to sell the Property for $480,000.00. (See Dckt. 58).
 11          5.      The balance due under Creditor’s Note and Deed of Trust is expected to increase
 12   before the sale closes due to accrued interest and funds may be advanced in the interim for
 13   attorney fees, property taxes, and hazard insurance.
 14                                            II. RESPONSE
 15          Creditor does not oppose the Motion to Sell on the condition that the following
 16   provisions be included in the Order:
 17          1.      The proposed sale of the Property is subject to Creditor’s Deed of Trust
 18   (Recorders Instrument Number 2019-0309927).
 19          2.      Creditor’s Deed of Trust shall be paid in full, and an updated payoff will need to
 20   be requested and received prior to the sale closing.
 21          3.      Should the approved sale not close, Creditor shall retain its lien upon the
 22   Property.
 23                                                          Respectfully submitted,
 24                                                          WRIGHT, FINLAY & ZAK, LLP
 25
      Dated: November 30, 2021                      By:      /s/ Arnold L. Graff, Esq.
 26                                                          Arnold L. Graff, Esq.
 27                                                          Attorneys for Creditor, Rocket Mortgage,
                                                             LLC f/k/a Quicken Loans, LLC f/k/a
 28                                                          Quicken Loans Inc.



                                                    2
                              CONDITIONAL NON-OPPOSITION TO MOTION TO SELL
        Case 6:20-bk-10759-WJ                      Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34                                     Desc
                                                   Main Document     Page 3 of 28



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

7785 W. Sahara Ave., Suite 200, Las Vegas, NV 89117

A true and correct copy of the foregoing document entitled (specify): CONDITIONAL NON-OPPOSITION TO DEBTORS’
MOTION FOR AUTHORITY TO SELL REAL PROPERTY UNDER LBR 3015-1(p)                                                 _____
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/30/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Rod Danielson (TR), Chapter 13 Trustee: notice-efile@rodan13.com
Sean C Ferry, Counsel for USAA Federal Savings Bank: sferry@raslg.com, sferry@ecf.courtdrive.com
Sheryl K Ith, Counsel for TD Auto Finance LLC: sith@cookseylaw.com, sith@ecf.courtdrive.com
Elizabeth Redmond, Courtesy Notice: notices@becket-lee.com
Valerie Smith, Courtesy Notice: claims@recoverycorp.com
United States Trustee (RS): ustpregion16.rs.ecf@usdoj.gov
Julie J Villalobos, Counsel for Debtor and Joint Debtor: julie@oaktreelaw.com,
oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/30/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Honorable Scott H. Yun
United States Bankruptcy Court
3420 Twelfth Street, Suite 345
Riverside, CA 92501-3819
COURT

LVNV Funding LLC
c/o Resurgent Capital Services
P.O. Box 10587
Greenville, SC 29603-0587
COURTESY NOTICE
                                                                                            Service information continued on attached page




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 6:20-bk-10759-WJ                      Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34                                     Desc
                                                   Main Document     Page 4 of 28


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/30/2021                    Jason Craig                                                      /s/ Jason Craig
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document     Page 5 of 28



                               Exhibit 1




                               Exhibit 1




                               Exhibit 1
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document     Page 6 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document     Page 7 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document     Page 8 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document     Page 9 of 28



                               Exhibit 2




                               Exhibit 2




                               Exhibit 2
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 10 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 11 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 12 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 13 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 14 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 15 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 16 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 17 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 18 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 19 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 20 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 21 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 22 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 23 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 24 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 25 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 26 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 27 of 28
Case 6:20-bk-10759-WJ   Doc 61 Filed 11/30/21 Entered 11/30/21 08:09:34   Desc
                        Main Document    Page 28 of 28
